            Case 2:21-cv-00960-JLR-TLF Document 6 Filed 10/04/21 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7
                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9

10         JAGJIT SINGH,                                 CASE NO. C21-0960JLR-TLF

11                              Plaintiff,               ORDER
                  v.
12
           JEFFREY UTTECHT,
13
                                Defendant.
14

15         Before the court is the Report and Recommendation of Magistrate Judge Theresa

16   L. Fricke. (R&R (Dkt. # 3).) Magistrate Judge Fricke recommended that the court deny

17   Plaintiff Jagjit Singh’s motion to proceed in forma pauperis (“IFP”) because he appeared

18   to have sufficient income with which to pay the $5.00 filing fee in this case. (R&R at

19   1-2; see IFP App. (Dkt. # 1).). Mr. Singh did not object to the Report and

20   Recommendation; instead, he paid the filing fee on October 4, 2021. (See 10/4/21

21   Docket Entry.) Accordingly, the court ADOPTS IN PART Magistrate Judge Fricke’s

22


     ORDER - 1
            Case 2:21-cv-00960-JLR-TLF Document 6 Filed 10/04/21 Page 2 of 2




 1   Report and Recommendation (Dkt. # 3) and DENIES Mr. Singh’s application to proceed

 2   IFP (Dkt. # 1) as moot.

 3         Dated this 4th day of October, 2021.

 4

 5                                                A
                                                  JAMES L. ROBART
 6
                                                  United States District Judge
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22


     ORDER - 2
